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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


   RICHARD M. BUSH, Individually and On                    Case No. 1:20-cv-23527-KMW
   Behalf of All Others Similarly Situated,
                                                           CLASS ACTION
                                Plaintiff,
                vs.

   BLINK CHARGING COMPANY,
   MICHAEL D. FARKAS, and MICHAEL P.
   RAMA,

                                Defendants.



         NOTICE OF NON-OPPOSITION OF MOVANT MARK J. FRIEDMAN TO
              COMPETING MOTIONS TO: APPOINT LEAD PLAINTIFF AND
                             APPROVE SELECTION OF COUNSEL


         On October 23, 2020, Mark J. Friedman (“Movant”) pursuant to the Securities Exchange

  Act of 1934, as amended by the Private Securities Litigation Reform Act of 1995 (the “PSLRA”),

  filed a motion for entry of an order: (1) appointing Movant as Lead Plaintiff; and (2) approving

  Movant’s selection of Counsel. Dkt. No. 20.

         Having reviewed the competing motions filed in this action, Movant does not appear to

  have the largest financial interest in this litigation within the meaning of the PSLRA. This notice

  of non-opposition shall have no impact on Movant’s membership in the proposed class, Movant’s

  right to share in any recovery obtained for the benefit of class members, and Movant’s ability to

  serve as a representative party should the need arise.




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  Dated: November 6, 2020      Respectfully submitted,

                               THE ROSEN LAW FIRM, P.A.

                               /s/Laurence M. Rosen
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                               New York, New York 10016
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                              Counsel for Mark J. Friedman




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                               CERTIFICATE OF SERVICE

        I hereby certify that on November 6, 2020, a true and correct copy of the foregoing
  document was served by CM/ECF to the parties registered to the Court’s CM/ECF system.

                                    /s/Laurence M. Rosen




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